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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1695V
                                        UNPUBLISHED


    KATHY STOPAR,                                           Chief Special Master Corcoran

                        Petitioner,                         Filed: October 7, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Edward M. Kraus, Law Offices of Chicago Kent, Chicago, IL, for Petitioner.

Traci R. Patton, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

       On October 31, 2019, Kathy Stopar filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury related to a
vaccine administration (“SIRVA”) caused by a November 5, 2016 influenza vaccine.
Petition at ¶¶ 1. Petitioner further alleges that her shoulder pain has persisted for more
than six months, that no party has received compensation in the form of an award or
settlement for her vaccine0ralted injuries, that that the vaccine was administered within
the United States. Petition at ¶¶ 1, 4. The case was assigned to the Special Processing
Unit of the Office of Special Masters.



1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On October 6, 2021, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent has concluded that Petitioner meets the criteria for a
presumed SIRVA as defined by the Vaccine Injury Table. Id. at 5. Respondent further
agrees that Petitioner has satisfied all legal prerequisites for compensation under the
Vaccine Act. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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